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OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                   for the

                                            NORTHERN DISTRICT OF FLORIDA
                    United States of America                         )
                               v.                                    )
                         Krystal Dozier                              )   Case No: 4:06cr20
                                                                     )   USM No: 12006-017
Date of Previous Judgment:          March 1, 2007                    )   Gary L. Printy
(Use Date of Last Amended Judgment if Applicable)                    )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of : the defendant 9 the Director of the Bureau of Prisons 9 the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       9 DENIED. : GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 48         months is reduced to            38              .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:       33             Amended Offense Level:                                                 31
Criminal History Category:     II            Criminal History Category:                                             II
Previous Guideline Range:  151 to 188 months Amended Guideline Range:                                            121 to 151 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
9 The reduced sentence is within the amended guideline range.
: The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
9 Other (explain):
 III. ADDITIONAL COMMENTS
This substantial assistance motion received by the Defendant from the Government resulted in a sentence that was 72%
lower than the midpoint of the original guideline range. This new sentence is a 72% reduction from the midpoint of the
amended guideline range. Furthermore, Defendant’s Motion to Appoint Counsel (doc. 183) is hereby denied.



Except as provided above, all provisions of the judgment dated               March 1, 2007          shall remain in effect.
IT IS SO ORDERED.

Order Date:          May 1, 2008                                                  s/ Stephan P. Mickle
                                                                                                  Judge’s signature


Effective Date:                                                                   Stephan P. Mickle
                     (if different from order date)                                             Printed name and title
